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                18
                         Counsel for Defendant Google LLC
                19
                                                   UNITED STATES DISTRICT COURT
                20
                                    NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
                21
                                                                     Case No. 4:20-cv-03664-YGR-SVK
                22        CHASOM BROWN, et.al, individually and
                          on behalf of all similarly situated,       DECLARATION OF STEPHEN A.
                23                                                   BROOME IN SUPPORT OF GOOGLE,
                                Plaintiffs,                          LLC’S MOTION FOR SUMMARY
                24                                                   JUDGMENT
                                       v.
                25                                                   Hon. Yvonne Gonzalez Rogers
                          GOOGLE LLC,
                                                                     Courtroom: 1 – 4th Floor
                26                                                   Date:   May 12, 2023
                                Defendant.
                                                                     Time:   1:00 p.m.
                27

                28

                                                                                   Case No. 4:20-cv-03664-YGR-SVK
01980-00174/13963770.3           BROOME DECLARATION IN SUPPORT OF GOOGLE LLC’S MOTION FOR SUMMARY JUDGMENT
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 1          I, Stephen A. Broome, declare as follows:

 2          1.      I am a partner with the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,

 3   counsel for Defendant Google LLC in this matter. I am an attorney at law duly licensed to practice

 4   before all courts of the State of California and admitted to practice in the Northern District of

 5   California by this Court. I have personal knowledge of the matters set forth herein and am

 6   competent to testify.

 7   Written Discovery

 8        2.        Attached as Exhibit 1 is a true and correct copy of Plaintiff Chasom Brown’s

 9 Amended Objections and Response to Defendant’s First Set of Requests for Admission, dated May

10 24, 2021.

11        3.        Attached as Exhibit 2 is a true and correct copy of Plaintiff William Byatt’s

12 Amended Objections and Response to Defendant’s First Set of Requests for Admission, dated May

13 24, 2021.

14        4.        Attached as Exhibit 3 is a true and correct copy of Plaintiff Christopher Castillo’s

15 Amended Objections and Response to Defendant’s First Set of Requests for Admission, dated May

16 24, 2021.

17        5.        Attached as Exhibit 4 is a true and correct copy of Plaintiff Jeremy Davis’ Amended

18 Objections and Response to Defendant’s First Set of Requests for Admission, dated May 24, 2021.

19        6.        Attached as Exhibit 5 is a true and correct copy of Plaintiff Chasom Brown’s

20 Amended Objections and Responses to Defendant’s Second Set of Requests for Admission, dated

21 May 24, 2021.

22        7.        Attached as Exhibit 6 is a true and correct copy of Plaintiff William Byatt’s

23 Amended Objections and Responses to Defendant’s Second Set of Requests for Admission, dated

24 May 24, 2021.

25        8.        Attached as Exhibit 7 is a true and correct copy of Plaintiff Christopher Castillo’s

26 Amended Objections Responses to Defendant’s Second Set of Requests for Admission, dated May
27 24, 2021.

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                                                     -1-         Case No. 4:20-cv-03664-YGR-SVK
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 1         9.        Attached as Exhibit 8 is a true and correct copy of Plaintiff Jeremy Davis’s Amended

 2 Objections and Responses to Defendant’s Second Set of Requests for Admission, dated May 24,

 3 2021.

 4         10.       Attached as Exhibit 9 is a true and correct copy of Plaintiff Monique Trujillo’s

 5 Objections and Responses to Defendant’s First and Second Sets of Requests for Admission, dated

 6 June 7, 2021.

 7         11.       Attached as Exhibit 10 is a true and correct copy of Plaintiff Chasom Brown’s

 8 Objections and Responses to Defendant’s Third Set of Requests for Admission, dated July 30, 2021.

 9         12.       Attached as Exhibit 11 is a true and correct copy of Plaintiff William Byatt’s

10 Objections and Responses to Defendant’s Third Set of Requests for Admission, dated July 30, 2021.

11         13.       Attached as Exhibit 12 is a true and correct copy of Plaintiff Christopher Castillo’s

12 Objections and Responses to Defendant’s Third Set of Requests for Admission, dated July 30, 2021.

13         14.       Attached as Exhibit 13 is a true and correct copy of Plaintiff Jeremy Davis’

14 Objections and Responses to Defendant’s Third Set of Requests for Admission, dated July 30, 2021.

15         15.       Attached as Exhibit 14 is a true and correct copy of Plaintiff Monique Trujillo’s

16 Objections and Responses to Defendant’s Third Set of Requests for Admission, dated July 30, 2021.

17         16.       Attached as Exhibit 15 is a true and correct copy of Defendant’s Responses and

18 Objections to Plaintiffs’ First Set of Requests for Admission, dated November 6, 2020.

19         17.       Attached as Exhibit 16 is a true and correct copy of Plaintiff Chasom Brown’s

20 Objections and Responses to Defendant’s First Set of Interrogatories, dated January 11, 2021.

21         18.       Attached as Exhibit 17 is a true and correct copy of Plaintiff William Byatt’s

22 Objections and Responses to Defendant’s First Set of Interrogatories, dated January 11, 2021.

23         19.       Attached as Exhibit 18 is a true and correct copy of Plaintiff Christopher Castillo’s

24 Objections and Responses to Defendant’s First Set of Interrogatories, dated January 11, 2021.

25         20.       Attached as Exhibit 19 is a true and correct copy of Plaintiff Jeremy Davis’s

26 Objections and Responses to Defendant’s First Set of Interrogatories, dated January 11, 2021.
27

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 1         21.    Attached as Exhibit 20 is a true and correct copy of Plaintiff Chasom Brown’s

 2 Amended Objections and Responses to Defendant’s Interrogatory Nos. 1, 4, and 5, dated May 12,

 3 2021.

 4         22.    Attached as Exhibit 21 is a true and correct copy of Plaintiff William Byatt’s

 5 Amended Objections and Responses to Defendant’s Interrogatory Nos. 1, 4 and 5, dated May 12,

 6 2021.

 7         23.    Attached as Exhibit 22 is a true and correct copy of Plaintiff Christopher Castillo’s

 8 Amended Objections and Responses to Defendant’s Interrogatory Nos. 1, 4, and 5, dated May 12,

 9 2021.

10         24.    Attached as Exhibit 23 is a true and correct copy of Plaintiff Jeremy Davis’s

11 Amended Objections and Responses to Defendant’s Interrogatory Nos. 1, 4, and 5, dated May 12,

12 2021.

13         25.    Attached as Exhibit 24 is a true and correct copy of Plaintiff Chasom Brown’s

14 Amended Objections and Responses to Defendant’s Second Set of Interrogatories, dated June 1,

15 2021.

16         26.    Attached as Exhibit 25 is a true and correct copy of Plaintiff William Byatt’s

17 Amended Objections and Responses to Defendant’s Second Set of Interrogatories, dated June 1,

18 2021.

19         27.    Attached as Exhibit 26 is a true and correct copy of Plaintiff Christopher Castillo’s

20 Amended Objections and Responses to Defendant’s Second Set of Interrogatories, dated June 1,

21 2021.

22         28.    Attached as Exhibit 27 is a true and correct copy of Plaintiff Jeremy Davis’s

23 Amended Objections and Responses to Defendant’s Second Set of Interrogatories, dated June 1,

24 2021.

25         29.    Attached as Exhibit 28 is a true and correct copy of Plaintiff Monique Trujillo’s

26 Objections and Responses to Defendant’s First and Second Sets of Interrogatories, dated June 7,
27 2021.

28

                                                    -3-        Case No. 4:20-cv-03664-YGR-SVK
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 1         30.     Attached as Exhibit 29 is a true and correct copy of Plaintiff Chasom Brown’s

 2 Objections and Responses to Defendant’s Fourth Set of Interrogatories, dated July 30, 2021.

 3         31.     Attached as Exhibit 30 is a true and correct copy of Plaintiff William Byatt’s

 4 Objections and Responses to Defendant’s Fourth Set of Interrogatories, dated July 30, 2021.

 5         32.     Attached as Exhibit 31 is a true and correct copy of Plaintiff Christopher Castillo’s

 6 Objections and Responses to Defendant’s Fourth Set of Interrogatories, dated July 30, 2021.

 7         33.     Attached as Exhibit 32 is a true and correct copy of Plaintiff Jeremy Davis’

 8 Objections and Responses to Defendant’s Fourth Set of Interrogatories, dated July 30, 2021.

 9         34.     Attached as Exhibit 33 is a true and correct copy of Plaintiff Monique Trujillo’s

10 Objections and Responses to Defendant’s Fourth Set of Interrogatories, dated July 30, 2021.

11         35.     Attached as Exhibit 34 is a true and correct copy of Plaintiff Chasom Brown’s

12 Objections and Responses to Defendant’s Fifth Set of Interrogatories, dated September 20, 2021.

13         36.     Attached as Exhibit 35 is a true and correct copy of Plaintiff William Byatt’s

14 Objections and Responses to Defendant’s Fifth Set of Interrogatories, dated September 20, 2021.

15         37.     Attached as Exhibit 36 is a true and correct copy of Plaintiff Christopher Castillo’s

16 Objections and Responses to Defendant’s Fifth Set of Interrogatories, dated September 20, 2021.

17         38.     Attached as Exhibit 37 is a true and correct copy of Plaintiff Jeremy Davis’

18 Objections and Responses to Defendant’s Fifth Set of Interrogatories, dated September 20, 2021.

19         39.     Attached as Exhibit 38 is a true and correct copy of Plaintiff Monique Trujillo’s

20 Objections and Responses to Defendant’s Fifth Set of Interrogatories, dated September 20, 2021.

21         40.     Attached as Exhibit 39 is a true and correct copy of Plaintiffs’ Objections and

22 Responses to Defendant’s Sixth Set of Interrogatories, dated April 15, 2022.

23         41.     Attached as Exhibit 40 is a true and correct copy of Defendant’s Amended

24 Responses and Objections to Plaintiffs’ Interrogatory Nos. 1 and 3, dated October 6, 2021.

25         42.     Attached as Exhibit 41 is a true and correct copy of Defendant’s Objections and

26 Responses to Plaintiffs’ Seventh Set of Interrogatories, dated January 20, 2022.
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 1         43.     Attached as Exhibit 42 is a true and correct copy of Non-party Mozilla Corporation’s

 2 Objections and Responses to Plaintiffs’ Subpoena to Produce documents, Information or Objects,

 3 dated August 27, 2021.

 4         44.     Attached as Exhibit 43 is a true and correct copy of a letter from Apple to Counsel

 5 for Plaintiffs, dated September 20, 2021.

 6         45.     Attached as Exhibit 44 is a true and correct copy of Third-party Respondent

 7 Microsoft Corporation’s Objections and Responses to Plaintiffs’ Subpoena, dated August 27, 2021.

 8         Deposition and Hearing Transcripts

 9         46.     Attached as Exhibit 142 is a true and correct copy of excerpts from the transcript of

10 the deposition of David Monsees, taken on April 9, 2021.

11         47.     Attached as Exhibit 143 is a true and correct copy of excerpts from the transcript of

12 the deposition of David Monsees, taken on June 11, 2021.

13         48.     Attached as Exhibit 45 is a true and correct copy of excerpts from the transcript of

14 the deposition of Glenn Berntson, taken on June 16, 2021.

15         49.     Attached as Exhibit 145 is a true and correct copy of excerpts from the transcript of

16 the deposition of Brian Rakowski, taken on August 19, 2021.

17         50.     Attached as Exhibit 46 is a true and correct copy of excerpts from the transcript of

18 the deposition of Gregory Fair, taken on December 14, 2021.

19         51.     Attached as Exhibit 47 is a true and correct copy of excerpts from the transcript of

20 the deposition of Plaintiff William Byatt, taken on December 20, 2021.

21         52.     Attached as Exhibit 48 is a true and correct copy of the document marked as Exhibit

22 2 to the deposition of William Byatt.

23         53.     Attached as Exhibit 49 is a true and correct copy of excerpts from the transcript of

24 the deposition of Plaintiff Jeremy Davis, taken on January 7, 2022.

25         54.     Attached as Exhibit 50 is a true and correct copy of the document marked as Exhibit

26 4 to the deposition of Jeremy Davis.
27         55.     Attached as Exhibit 51 is a true and correct copy of excerpts from the transcript of

28 the deposition of Plaintiff Chasom Brown, taken on January 13, 2022.

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 1         56.     Attached as Exhibit 52 is a true and correct copy of the document marked as Exhibit

 2 1 to the deposition of Chasom Brown.

 3         57.     Attached as Exhibit 53 is a true and correct copy of excerpts from the transcript of

 4 the deposition of Plaintiff Christopher Castillo, taken on February 8, 2022.

 5         58.     Attached as Exhibit 54 is a true and correct copy of excerpts from the transcript of

 6 the deposition of Plaintiff Monique Trujillo, taken on February 11, 2022.

 7         59.     Attached as Exhibit 55 is a true and correct copy of the document marked as Exhibit

 8 1 to the deposition of Monique Trujillo.

 9         60.     Attached as Exhibit 56 is a true and correct copy of excerpts from the transcript of

10 the deposition of Rory McClelland, taken on February 18, 2022.

11         61.     Attached as Exhibit 57 is a true and correct copy of excerpts from the transcript of

12 the deposition of Stephen Chung, taken on March 10, 2022.

13         62.     Attached as Exhibit 144 is a true and correct copy of excerpts from the transcript of

14 the deposition of Adriana Porter Felt, taken on March 17, 2022.

15         63.     Attached as Exhibit 58 is a true and correct copy of excerpts from the transcript of

16 the deposition of Mark Keegan, taken on July 15, 2022.

17         64.     Attached as Exhibit 59 is a true and correct copy of excerpts from the transcript of

18 the deposition of Bruce Schneier, taken on July 18, 2022.

19         65.     Attached as Exhibit 60 is a true and correct copy of the document marked as Exhibit

20 7 to the deposition of Bruce Schneier.

21         66.     Attached as Exhibit 61 is a true and correct copy of excerpts from the transcript of

22 the deposition of Jonathan Hochman, taken on July 20, 2022.

23         67.     Attached as Exhibit 62 is a true and correct copy of excerpts from the transcript of

24 the deposition of Glenn Berntson, taken on February 14, 2023.

25         68.     Attached as Exhibit 63 is a true and correct copy of excerpts from the transcript of

26 the deposition of Jonathan McPhie, taken on February 15, 2023.
27         69.     Attached as Exhibit 64 is a true and correct copy of excerpts from the transcript of

28 the October 24, 2022 Calhoun Evidentiary Hearing.

                                                     -6-       Case No. 4:20-cv-03664-YGR-SVK
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 1          Google-Produced Documents

 2         70.     Attached as Exhibit 65 is a true and correct copy of Plaintiff Chasom Brown’s

 3 Google Subscriber Information produced in this litigation by Google bearing Bates numbers

 4 GOOG-BRWN-00029466 through GOOG-BRWN-00029489.

 5         71.     Attached as Exhibit 66 is a true and correct copy of Plaintiff William Byatt’s Google

 6 Subscriber Information produced in this litigation by Google bearing Bates number GOOG-BRWN-

 7 00030964.

 8         72.     Attached as Exhibit 67 is a true and correct copy of Plaintiff Christopher Castillo’s

 9 Google Subscriber Information produced in this litigation by Google bearing Bates numbers

10 GOOG-BRWN-00030104 through GOOG-BRWN-00030111.

11         73.     Attached as Exhibit 68 is a true and correct copy of Plaintiff Jeremy Davis’ Google

12 Subscriber Information produced in this litigation by Google bearing Bates numbers GOOG-

13 BRWN-00229529 through GOOG-BRWN-00229531.

14         74.     Attached as Exhibit 69 is a true and correct copy of Plaintiff Monique Trujillo’s

15 Google Subscriber Information produced in this litigation by Google bearing Bates numbers

16 GOOG-BRWN-00229514 through GOOG-BRWN-00229518.

17         75.     Attached as Exhibit 70 is a true and correct copy of the Log Data Usage Rules

18 produced in this litigation by Google bearing Bates numbers GOOG-BRWN-00029004 through

19 GOOG-BRWN-00029009.

20         76.     Attached as Exhibit 71 is a true and correct copy of the Device/App/Browser

21 Fingerprinting and Immutable Identifiers Policy produced in this litigation by Google bearing Bates

22 numbers GOOG-BRWN-00029326 through GOOG-BRWN-00029327.

23         Incognito Screens

24         77.     Attached as Exhibit 72 is a true and correct copy of the June 2017 Incognito Screen

25 produced in this litigation by Google bearing Bates number GOOG-CABR-04400003.

26         78.     Attached as Exhibit 73 is a true and correct copy of the September 2018 Incognito
27 Screen produced in this litigation by Google bearing Bates number GOOG-CABR-04400005.

28

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 1        79.     Attached as Exhibit 74 is a true and correct copy of the October 2020 Incognito

 2 Screen produced in this litigation by Google bearing Bates number GOOG-CABR-04400007.

 3         Expert Reports

 4        80.     Attached as Exhibit 75 is a true and correct copy of the Expert Report of Bruce

 5 Schneier, dated April 15, 2022.

 6        81.     Attached as Exhibit 76 is a true and correct copy of the Expert Report of Georgios

 7 Zervas, PHD, dated April 15, 2022.

 8        82.     Attached as Exhibit 77 is a true and correct copy of the Expert Report of Jonathan

 9 E. Hochman, dated April 15, 2022.

10        83.     Attached as Exhibit 78 is a true and correct copy of the Expert Report of Professor

11 On Amir, dated April 15, 2022.

12        84.     Attached as Exhibit 79 is a true and correct copy of the Expert Report of Mark

13 Keegan.

14        85.     Attached as Exhibit 80 is a true and correct copy of the Expert Report Rebuttal of

15 Georgios Zervas, PHD, dated June 7, 2022.

16        86.     Attached as Exhibit 81 is a true and correct copy of the Expert Report of Professor

17 Paul Schwartz, dated June 7, 2022.

18        87.     Attached as Exhibit 82 is a true and correct copy of the Expert Report of

19 Konstantinos Psounis, PH.D, dated June 7, 2022.

20         Declarations

21        88.     Attached as Exhibit 83 is a true and correct copy of the Declaration of Glenn

22 Berntson, dated August 4, 2022.

23        89.     Attached as Exhibit 84 is a true and correct copy of the Declaration of Steve Ganem,

24 dated August 4, 2022.

25        90.     Attached as Exhibit 85 is a true and correct copy of the Declaration of Jonathan

26 McPhie, dated August 5, 2022.
27        91.     Attached as Exhibit 86 is a true and correct copy of the document marked as Exhibit

28 4 to the McPhie Declaration, “Create an Account” Page.

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 1        92.      Attached as Exhibit 87 is a true and correct copy of the document marked as Exhibit

 2 15 to the McPhie Declaration.

 3        93.      Attached as Exhibit 88 is a true and correct copy of the document marked as Exhibit

 4 17 to the McPhie Declaration.

 5        94.      Attached as Exhibit 89 is a true and correct copy of the document marked as Exhibit

 6 16 to the McPhie Declaration, “Browse in private” Help Page.

 7        95.      Attached as Exhibit 90 is a true and correct copy of the document marked as Exhibit

 8 18 to the McPhie Declaration, “How private browsing works in Chrome” Help Page.

 9        96.      Attached as Exhibit 91 is a true and correct copy of the document marked as Exhibit

10 29 to the McPhie Declaration, “How Chrome Incognito keeps your browsing private” Help Page.

11        97.      Attached as Exhibit 92 is a true and correct copy of the document marked as Exhibit

12 30 to the McPhie Declaration, “Search & browse privately” Help Page.

13           Google Privacy Policies

14        98.      Attached as Exhibit 93 is a true and correct copy of the March 25, 2016 Google

15 Privacy Policy.

16        99.      Attached as Exhibit 94 is a true and correct copy of the June 28, 2016 Google Privacy

17 Policy.

18        100.     Attached as Exhibit 95 is a true and correct copy of the August 29, 2016 Google

19 Privacy Policy.

20        101.     Attached as Exhibit 96 is a true and correct copy of the March 1, 2017 Google

21 Privacy Policy.

22        102.     Attached as Exhibit 97 is a true and correct copy of the April 17, 2017 Google

23 Privacy Policy.

24        103.     Attached as Exhibit 98 is a true and correct copy of the October 2, 2017 Google

25 Privacy Policy.

26        104.     Attached as Exhibit 99 is a true and correct copy of the December 18, 2017 Google
27 Privacy Policy.

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 1        105.    Attached as Exhibit 100 is a true and correct copy of the May 25, 2018 Google

 2 Privacy Policy.

 3        106.    Attached as Exhibit 101 is a true and correct copy of the January 22, 2019 Google

 4 Privacy Policy.

 5        107.    Attached as Exhibit 102 is a true and correct copy of the October 15, 2019 Google

 6 Privacy Policy.

 7        108.    Attached as Exhibit 103 is a true and correct copy of the December 19, 2019 Google

 8 Privacy Policy.

 9        109.    Attached as Exhibit 104 is a true and correct copy of the March 31, 2020 Google

10 Privacy Policy.

11        110.    Attached as Exhibit 105 is a true and correct copy of the July 1, 2020 Google Privacy

12 Policy.

13        111.    Attached as Exhibit 106 is a true and correct copy of the August 28, 2020 Google

14 Privacy Policy.

15        112.    Attached as Exhibit 107 is a true and correct copy of the September 30, 2020 Google

16 Privacy Policy.

17        113.    Attached as Exhibit 108 is a true and correct copy of the February 4, 2021 Google

18 Privacy Policy.

19        114.    Attached as Exhibit 109 is a true and correct copy of the July 1, 2021 Google Privacy

20 Policy.

21        115.    Attached as Exhibit 110 is a true and correct copy of the February 10, 2022 Google

22 Privacy Policy.

23        116.    Attached as Exhibit 111 is a true and correct copy of the October 4, 2022 Google

24 Privacy Policy.

25        117.    Attached as Exhibit 112 is a true and correct copy of the December 15, 2022 Google

26 Privacy Policy.
27

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 1       Chrome Privacy Notices

 2       118.    Attached as Exhibit 113 is a true and correct copy of the September 1, 2015 Google

 3 Chrome Privacy Notice.

 4       119.    Attached as Exhibit 114 is a true and correct copy of the June 21, 2016 Google

 5 Chrome Privacy Notice.

 6       120.    Attached as Exhibit 115 is a true and correct copy of the August 30, 2016 Google

 7 Chrome Privacy Notice.

 8       121.    Attached as Exhibit 116 is a true and correct copy of the October 11, 2016 Google

 9 Chrome Privacy Notice.

10       122.    Attached as Exhibit 117 is a true and correct copy of the November 30, 2016 Google

11 Chrome Privacy Notice.

12       123.    Attached as Exhibit 118 is a true and correct copy of the January 24, 2017 Google

13 Chrome Privacy Notice.

14       124.    Attached as Exhibit 119 is a true and correct copy of the March 7, 2017 Google

15 Chrome Privacy Notice.

16       125.    Attached as Exhibit 120 is a true and correct copy of the April 25, 2017 Google

17 Chrome Privacy Notice.

18       126.    Attached as Exhibit 121 is a true and correct copy of the March 6, 2018 Google

19 Chrome Privacy Notice.

20       127.    Attached as Exhibit 122 is a true and correct copy of the September 24, 2018 Google

21 Chrome Privacy Notice.

22       128.    Attached as Exhibit 123 is a true and correct copy of the October 24, 2018 Google

23 Chrome Privacy Notice.

24       129.    Attached as Exhibit 124 is a true and correct copy of the December 4, 2018 Google

25 Chrome Privacy Notice.

26       130.    Attached as Exhibit 125 is a true and correct copy of the January 30, 2019 Google
27 Chrome Privacy Notice.

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                                                 -11-        Case No. 4:20-cv-03664-YGR-SVK
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 1       131.    Attached as Exhibit 126 is a true and correct copy of the March 12, 2019 Google

 2 Chrome Privacy Notice.

 3       132.    Attached as Exhibit 127 is a true and correct copy of the October 31, 2019 Google

 4 Chrome Privacy Notice.

 5       133.    Attached as Exhibit 128 is a true and correct copy of the December 10, 2019 Google

 6 Chrome Privacy Notice.

 7       134.    Attached as Exhibit 129 is a true and correct copy of the March 17, 2020 Google

 8 Chrome Privacy Notice.

 9       135.    Attached as Exhibit 130 is a true and correct copy of the May 20, 2020 Google

10 Chrome Privacy Notice.

11       136.    Attached as Exhibit 131 is a true and correct copy of the January 15, 2021 Google

12 Chrome Privacy Notice.

13       137.    Attached as Exhibit 132 is a true and correct copy of the September 23, 2021 Google

14 Chrome Privacy Notice.

15       138.    Attached as Exhibit 133 is a true and correct copy of the June 23, 2022 Google

16 Chrome Privacy Notice.

17       139.    Attached as Exhibit 134 is a true and correct copy of the August 11, 2022 Google

18 Chrome Privacy Notice.

19       Terms of Service

20       140.    Attached as Exhibit 135 is a true and correct copy of the April 14, 2014 Google

21 Terms of Service produced in this litigation by Google bearing Bates numbers GOOG-CABR-

22 00002291 through GOOG-CABR-00002296.

23       141.    Attached as Exhibit 136 is a true and correct copy of the October 25, 2017 Google

24 Terms of Service produced in this litigation by Google bearing Bates numbers GOOG-CABR-

25 00002303 through GOOG-CABR-00002308.

26       142.    Attached as Exhibit 137 is a true and correct copy of the March 30, 2020 Google
27 Terms of Service produced in this litigation by Google bearing Bates numbers GOOG-CABR-

28 00002315 through GOOG-CABR-00002331.

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 1         143.    Attached as Exhibit 138 is a true and correct copy of the January 5, 2020 Google

 2 Terms of Service.

 3         144.    Attached as Exhibit 139 is a true and correct copy of the March 31, 2020 Google

 4 Chrome and Chrome OS Additional Terms of Service produced in this litigation by Google bearing

 5 Bates numbers GOOG-CABR-00002111 through GOOG-CABR-00002114.

 6         145.    Attached as Exhibit 140 is a true and correct copy of the January 1, 2021 Google

 7 Chrome and Chrome OS Additional Terms of Service.

 8          Additional Sources

 9         146.    Attached as Exhibit 141 is a true and correct copy of the February 2, 2021 Google

10 Chrome Privacy Whitepaper.

11         147.    Google has responded to 235 requests for production, 75 requests for admission, 40

12 interrogatories, and has produced 6,809,400 million pages and hundreds of gigabytes of

13 data. Plaintiffs deposed 31 witnesses and had access to an additional 19 deposition transcripts from

14 the Calhoun matter, all totaling hundreds of hours of testimony. Plaintiffs’ experts have also

15 inspected Google’s source code.

16          I declare under penalty of perjury of the laws of the United States that the foregoing is true

17 and correct. Executed in Los Angeles, California on March 21, 2023.

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                                                  By          /s/ Stephen A. Broome
21                                                     Stephen A. Broome

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                                                       -13-    Case No. 4:20-cv-03664-YGR-SVK
             BROOME DECLARATION IN SUPPORT OF GOOGLE LLC’S MOTION FOR SUMMARY JUDGMENT
